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                                                                                    United States District Court
                                                                                      Southern District of Texas

                                                                                         ENTERED
                               UNITED STATES DISTRICT COURT                            August 05, 2020
                                SOUTHERN DISTRICT OF TEXAS                            David J. Bradley, Clerk
                                     LAREDO DIVISION

GLORIA CAROLINA MANZO-HERNANDEZ, §
et al.,                          §
                                 §
        Petitioners,             §
VS.                              §                    CIVIL ACTION NO. 5:20-CV-95
                                 §
OMAR JUAREZ, et al.,             §
                                 §
        Respondents.             §

                                              ORDER

         On July 2, 2020, the Court denied Petitioners’ Motion for a Temporary Restraining

Order.     At the time, Petitioners’ Motion for Class Certification and Appointment of Class

Counsel (Doc. 3) was pending. At the hearing, Respondent indicated that he expects to seek

dismissal of the action. The parties agreed that the Court would first consider any motion to

dismiss before considering the issue of class certification.

         On July 7, Petitioners filed an Amended Petition for Writ of Habeas Corpus and

Complaint for Declaratory Relief (Doc. 16).

         The Court finds that its ruling on any motion to dismiss, if one is filed, as well as

developments in the facts related to the lawsuit, could affect the scope and nature of the request

for class certification.

         As a result, it is:

         ORDERED that the Motion for Class Certification and Appointment of Class Counsel

(Doc. 3) is DENIED WITHOUT PREJUDICE to refiling at the appropriate stage of the

lawsuit.

         SIGNED this 5th day of August, 2020.


                                                  _______________________________
                                                  Fernando Rodriguez, Jr.
                                                  United States District Judge


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